                 Case 1:05-cr-00341-AWI Document 118 Filed 10/23/07 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MARC C. AMENT, Bar #59080
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   Michael Timothy Kilpatrick
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   NO. 1:05-cr-00341 AWI
                                                      )
12                          Plaintiff,                )   APPLICATION FOR ORDER
                                                      )   EXONERATING BOND AND FOR
13          v.                                        )   RECONVEYANCE OF REAL PROPERTY
                                                      )   AND ORDER THEREON
14   MICHAEL TIMOTHY KILPATRICK,                      )
                                                      )
15                          Defendant.                )
                                                      )
16                                                    )
17          Defendant Michael Timothy Kilpatrick hereby moves this court for an order to exonerate the
18   property bond posted in the above-captioned case, and to reconvey title thereto to the original owners.
19          On September 26, 2005, Mr. Kilpatrick appeared in this matter before Hon. Lawrence J. O’Neill,
20   -then- United States Magistrate Judge, and was ordered released from custody under the supervision of
21   Pretrial Services and “a $50,000 unsecured bond, to be replaced by a $50,000 property bond.” (C.R. #18,
22   attached as Exhibit 1). On this same day, a $50,000 unsecured bond was posted on Mr. Kilpatrick’s behalf
23   with the Clerk of this Court. (Ex. 1 at C.R. # 20)
24          On November 16, 2005, a property bond, secured by a Deed of Trust in the amount of $50,000
25   (rec #101 7893), was posted by William and Tina Pucilowski on Mr. Kilpatrick’s behalf. (Ex. 1, C.R.,
26   unnumbered entry between # 36 and # 37)
27          On August 27, 2007, Mr. Kilpatrick appeared before District Judge Anthony W. Ishii for
28   sentencing (Ex. 1, C.R. # 107) , and subsequently surrendered himself into the custody of the Bureau of
               Case 1:05-cr-00341-AWI Document 118 Filed 10/23/07 Page 2 of 2


 1   Prisons (Exhibit 2). Since Michael Timothy Kilpatrick has met the conditions required by the Court in
 2   this matter, he hereby requests that the court exonerate the property bond of $50,000 (rec #101 7893) and
 3   reconvey title of the posted property (5418 Citrus Grove Ct., Bakersfield, California, 93313) to the
 4   original owners, William M. Pucilowski and Tina M. Pucilowski.
 5   DATED: October 22, 2007
 6                                                          Respectfully submitted ,
 7                                                          DANIEL J. BRODERICK
                                                            Federal Defender
 8
                                                            /s/ Marc Ament
 9                                                          MARC C. AMENT
                                                            Attorney of Record for
10                                                          Michael Timothy Kilpatrick
11
12                                                      ORDER
13
14           IT IS HEREBY ORDERED that the property bond of $50,000 (rec #101 7893) be exonerated, and
15   title of the posted property, 5418 Citrus Grove Ct., Bakersfield, California, 93313, be reconveyed to the
16   original owners, William M. Pucilowski and Tina M. Pucilowski.
17
18   IT IS SO ORDERED.
19   Dated:      October 22, 2007                            /s/ Anthony W. Ishii
     0m8i78                                            UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28

     Kilpatrick - Application/Order Exonerating Bond
     & Reconveyance of Real Property                         2
